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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                      )
                                                )
       Plaintiff,                               )
                                                )          No. 6:18-CR-48-REW-HAI
 v.                                             )
                                                )
 HENRY HALL,                                    )                     ORDER
                                                )
         Defendant.                             )

                                         *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE #138) of United

States Magistrate Judge Hanly A. Ingram, addressing Defendant Henry Hall’s guilty plea as to

Counts 1, 11, and 12 of the Superseding Indictment (DE #20). Defendant appeared before Judge

Ingram on January 29, 2019, and, after consenting to plead before a United States Magistrate Judge

and engaging in the full colloquy required by Rule 11, proceeded to plead guilty. DE #138 at ¶¶

1–2. Judge Ingram found Defendant competent to plead and concluded that Defendant did so in a

knowing and voluntary fashion; he further found that an adequate factual basis supported the plea

as to each essential element of the charged offense. Id. at ¶¶ 2–3. Accordingly, Judge Ingram

recommended the Court accept Defendant’s plea and adjudge him guilty of the offenses charged

in Counts 1, 11, and 12 of the Superseding Indictment. Id. at ¶ 4.

       Hall had three days within which to object to Judge Ingram’s recommendation, and he has

not done so. See id. at 3. Nor has the United States objected. While this Court reviews de novo

those portions of a Report and Recommendation to which a party objects, see 28 U.S.C.

§ 636(b)(1), it is not required to “review . . . a magistrate’s factual or legal conclusions, under a de

novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S.

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Ct. 466, 472 (1985). Where the parties do not object to the magistrate judge’s recommended

disposition, they waive any right to review. See Fed. R. Civ. P 59; United States v. White, 874 F.3d

490, 495 (6th Cir. 2017) ("When a party . . . fails to lodge a specific objection to a particular aspect

of a magistrate judge's report and recommendation, we consider that issue forfeited on appeal.");

see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that "[t]he law in this

Circuit is clear" that a party who fails to object to a magistrate judge's recommendation forfeits his

right to appeal its adoption).

          The Court thus ADOPTS the Recommended Disposition (DE #138), accepts the plea, and

ADJUDGES Defendant guilty of Counts 1, 11, and 12 of the Superseding Indictment. The Court

further CANCELS the jury trial as to Hall. An Order scheduling Defendant’s sentencing will

follow.

          This the 6th day of February, 2019.




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